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                         EXHIBIT G
    Case 3:17-cv-00072-NKM-JCH Document 529-7 Filed 07/23/19 Page 2 of 3 Pageid#: 5951




From:                                       Ken Kim <kkim@idsinc.com>
Sent:                                       Thursday, July 18, 2019 1:39 PM
To:                                         Michael Bloch
Cc:                                         Jessica Phillips
Subject:                                    RE: Sines v. Kessler


Hi Mike:

Elliot Kline has not yet signed the updated contract nor have we received any of his materials ‐ we have not received any
communications from Elliot Kline.

Regards,
Ken

Kenneth Kim
Project Manager
Mobile: 267.847.4876




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https://www.chambersandpartners.com/12788/2817/editorial/58/1#22770855_editorial


From: Michael Bloch <mbloch@kaplanhecker.com>
Sent: Wednesday, July 17, 2019 10:39 PM
To: Ken Kim <kkim@idsinc.com>
Cc: Jessica Phillips <jphillips@bsfllp.com>
Subject: Sines v. Kessler

[EXTERNAL SENDER]
Hey Ken, just wanted to confirm that Mr. Kline still has not signed the vendor contract and that you have not received
any of his materials. Please let me know. Thanks.

Michael Bloch | Kaplan Hecker & Fink LLP
Counsel
350 Fifth Avenue | Suite 7110
New York, New York 10118
(W) 929.367.4573 | (M) 646.398.0345
mbloch@kaplanhecker.com



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